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  NOT FOR PUBLICATION


                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY



   HUDSON COUNTY IMPROVEMENT                      Civil Action No. 24-5822 (SDW)(CLW)
   AUTHORITY,

                          Plaintiff,              ORDER

   v.
                                                  December 18, 2024
   BEAZER EAST, INC., et al.,


                          Defendants.



  WIGENTON, District Judge.

         Before this Court is Magistrate Judge Cathy L. Waldor’s (“Judge Waldor”) Report and

  Recommendation (D.E. 18 (“R&R”)), dated October 18, 2024, which recommends that this Court

  grant Plaintiff Hudson County Improvement Authority’s (“Plaintiff”) Motion to Remand (D.E. 9).

  Defendant Beazer East, Inc. (“Defendant”) timely filed objections, (D.E. 19), consistent with 28

  U.S.C. § 636(b)(1). This Court has reviewed the reasons set forth by Judge Waldor in her R&R,

  Defendant’s objections, and the other documents in this matter. Based on the foregoing, and for

  good cause shown, it is hereby

         ORDERED that Judge Waldor’s R&R is ADOPTED as the conclusions of law of this

         Court, and it is further

         ORDERED that Plaintiff’s Motion to Remand is GRANTED, and it is further
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        ORDERED that this matter is REMANDED to the Superior Court of New Jersey, Law

        Division, Hudson County.

        SO ORDERED.



                                                      /s/ Susan D. Wigenton
                                                  SUSAN D. WIGENTON, U.S.D.J.


  Orig: Clerk
  cc:   Parties
        Cathy L. Waldor, U.S.M.J.




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